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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


BARBARA J. LEE et al.,
                    Plaintiffs,
             v.                         Case No. 21-cv-00400 (APM)
DONALD J. TRUMP et al.,                 (lead case)
                    Defendants.

ERIC SWALWELL,
                    Plaintiff,
             v.                         Case No. 21-cv-00586 (APM)
DONALD J. TRUMP et al.,                 (consolidated case)
                    Defendants.

JAMES BLASSINGAME et. al.,
                    Plaintiffs,
             v.                         Case No. 21-cv-00858 (APM)
DONALD J. TRUMP,                        (consolidated case)
                    Defendant.

CONRAD SMITH et al.,
                    Plaintiffs,
             v.                         Case No. 21-cv-02265 (APM)
DONALD J. TRUMP et al.,                 (consolidated case)
                    Defendants.

MARCUS J. MOORE et al.,
                    Plaintiffs,
             v.                         Case No. 22-cv-00010 (APM)
DONALD J. TRUMP,                        (consolidated case)
                    Defendant.
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  BOBBY TABRON et al.,
                         Plaintiff,
                                                       Case No. 22-cv-00011 (APM)
                 v.
                                                       (consolidated case)
  DONALD J. TRUMP,
                         Defendants.

  BRIANA KIRKLAND,
                         Plaintiff,
                                                       Case No. 22-cv-00034 (APM)
                 v.
                                                       (consolidated case)
  DONALD J. TRUMP,
                         Defendant.

  SANDRA GARZA,
                         Plaintiff,
                                                       Case No. 23-cv-00038 (APM)
                 v.
                                                       (consolidated case)
  DONALD J. TRUMP et al.,
                         Defendants.



                                      JOINT STATUS REPORT

         Since the parties’ submission of their last Joint Status Report to the Court, both sides

have continued to work cooperatively; however, as each party respectively elaborates upon

below, a discovery dispute has arisen regarding the number of interrogatories that Plaintiffs are

permitted to propound, and for which Court intervention is requested. Setting this disputed

discovery matter aside, the parties jointly report the following:

   1. Both sides have continued to address various discovery requests and their

       corresponding responses and objections.

   2. With one exception, neither party is awaiting further productions related to their Rule

       45 subpoenas issued to a non-party witness, and both parties have received the other’s

       respective productions. That one exception relates to the subpoena served on the D.C.
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       Metropolitan Police Department. On September 5, counsel for DCPMD, Teresa Quon,

       promised a supplemental production in “3-4 weeks.” No supplemental production has

       been received and Ms. Quon has not yet responded to a request for an update.

       Defendant Trump has represented to Plaintiffs that he is preparing a privilege log for

       the NARA production that will be provided to Plaintiffs shortly.

  3.   Pursuant to the Court’s minute order dated September 9, 2024, on September 30, 2024,

       the parties exchanged the declarations upon which they respectively intend to rely at

       summary judgment. Plaintiffs sent five declarations, and Defendant Trump sent two

       declarations. Defendant Trump also provided Plaintiffs with a subpoena indicating his

       intention to obtain the testimony of one witness, Daniel Scavino, via oral deposition on

       October 21, 2024, or at such other agreed to time.

  4. Both parties have indicated their intent to take, or appear at, one or more depositions.

       The scheduling for such depositions is underway and the Parties anticipate that

       depositions will be completed by the October 28, 2024, immunity-related discovery

       deadline.

Plaintiffs’ Report:

       On October 4, 2024, counsel for Plaintiffs and Defendant Trump participated in a Meet and

Confer (“Meet and Confer”) to address several objections that Defendant Trump had raised

pursuant to Plaintiffs’ First Set of Interrogatories and Fourth Set of Requests for Admission.

Following this Meet and Confer, the parties remain in disagreement as to the number of

interrogatories for which Plaintiffs are entitled to a response from Defendant Trump, and therefore

seek to raise this issue before the Court.

       Plaintiffs have served on Defendant Trump three sets of interrogatories totaling twelve

interrogatories. The First Set of Interrogatories contains one interrogatory asking that for any denial
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of a request for admission (RFA), Defendant Trump explain the basis for that denial. Plaintiffs have

served a Second and Third Set of Interrogatories, totaling an additional eleven interrogatories.

Responses to the Second and Third Set of Interrogatories are due later this month.

      On September 13, 2024, in his supplemental response to Plaintiffs’ First Set of

Interrogatories, Defendant Trump represented that he would not be responding to any further

interrogatories. Defendant Trump’s stated reason for his refusal to respond to Plaintiffs’ outstanding

interrogatories was his belief that Plaintiffs have exceeded their allotment of 25 interrogatories, as

Trump has provided explanations for more than 25 denials to RFAs (in response to Interrogatory

Number 1).

      Plaintiffs contend that they have not exceeded the number of interrogatories allotted them

under the Federal Civil Rules of Procedure. The discovery in this case includes eight consolidated

cases with multiple plaintiffs in each case, and Rule 33 permits each party in each case to serve on

any other party no more than 25 interrogatories. Fed. R. Civ. P. 33. As these consolidated cases

could have been pursued independently, Plaintiffs in each case are entitled to complete discovery

permitted under the Rules, and the consolidated Plaintiffs have not exceeded their allotted number

of interrogatories. To date, Defendant Trump has only provided explanations for 92 RFA denials,

which is well below the number of interrogatories permitted. Even if only 25 interrogatories were

permitted in each of the eight consolidated cases (as opposed to each party), the limit would be 200

interrogatories.

      During the Meet and Confer, Defendant Trump affirmed that this objection means he does

not plan to provide any response at all to Plaintiffs’ Second and Third Sets of Interrogatories , which

are contention interrogatories. These contention interrogatories primarily mirror Defendant

Trump’s own contention interrogatories, to which Plaintiffs have already replied. Given the

approaching close of the immunity-related discovery period, it is now a wholly appropriate stage
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for Defendant Trump to likewise provide contention interrogatory responses.

      In addition, at the Meet and Confer, Defendant Trump stated that he will no longer provide

interrogatory responses in connection with any further RFA denials. Plaintiffs offered that

Defendant Trump provide interrogatory responses for a small set of RFA denials still outstanding,

but Defendant rejected that offer. If permitted, Defendant’s objection will result in a non-response

to a significant number of Plaintiffs’ outstanding discovery requests, including contention

interrogatories that Defendant agrees are entirely appropriate, as they mirror Defendant’s own

contention interrogatories.

      Plaintiffs presented this reasoning to Defendant Trump at the Meet and Confer; however, the

parties could not reach agreement on the issue and have reached an impasse. Therefore, Plaintiffs

seek this Court’s intervention and request that Defendant Trump be ordered to respond to Plaintiffs’

outstanding interrogatories and provide the basis for any additional RFAs to which he responds

with a denial.

Defendant Trump’s Report

      To date, Plaintiffs have served five sets of requests for admission on President Trump,

comprising some 340 requests. As many of the individual requests are, in fact, compound and seek

admissions concerning multiple facts, the true number of requested admissions is higher than that.

Plaintiffs paired these admissions with a set of interrogatories—expressly served on behalf of all

plaintiffs in these actions—demanding a full explanation of the basis of anything other than an

unqualified admission. For the first 92 requests that President Trump did not unqualifiedly admit,

he provided accompanying interrogatory responses—essentially responses to 92 contention

interrogatories—before objecting, in connection with service of his responses to plaintiffs’ fourth

set of requests for admission, to providing an additional 65 such interrogatory responses.

      During today’s meet and confer, plaintiffs offered to forego 18 of those additional 65
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interrogatory responses (and perhaps a few more depending on the resolution of certain questions

posed by plaintiffs with respect to the basis for the responses to those requests for admission). In

any event, however, simply responding to the ones that plaintiffs are insisting upon will require

President Trump to respond to approximately 120 interrogatories in total, even before considering

the additional contention interrogatories that plaintiffs also want answered and the additional

interrogatory responses, which will inevitably be generated by forthcoming denials or qualified

responses to portions of Plaintiffs’ Fifth Set of Requests for Admissions.

      There is no dispute that plaintiffs have already had answers to 92 interrogatories as such

matters are determined under Rule 33(a)(1), which imposes a limit of 25, including all discrete

subparts. As one federal judge recently explained in a thorough opinion addressing precisely this

topic, “in the context of interrogatories that seek additional information regarding a party’s denials

of requests for admission, there is a robust consensus that each request for admission constitutes a

discrete subpart and a separate interrogatory.” Superior Sales W., Inc. v. Gonzalez, 335 F.R.D. 98,

104–05 (W.D. Tex. 2020). Among other authorities, the Superior Sales court cited: Trusz v. UBS

Realty Invs. LLC, No. 3:09-CV-268, 2011 WL 1628005, at *3 (D. Conn. Apr. 27, 2011) (holding

that where “plaintiff asks defendant ... to identify all actions that it took to admit or deny more than

two hundred of plaintiff's Requests for Admission.... this single interrogatory is actually more than

two hundred separate interrogatories”); Constr. Sys., Inc. v. Gen. Cas. Co. of Wis., No. 9-3697,

2011 WL 13312221, at *3 (D. Minn. Apr. 22, 2011) (collecting cases and noting “[n]umerous

jurisdictions are in agreement” that “an interrogatory that asks for the factual and documentary

bases for the denial of each [request for admission] constitutes ... multiple interrogatories”); Estate

of Fahner ex rel. Fahner v. County of Wayne, No. 08-cv-14344, 2009 WL 4644788, at *2 (E.D.

Mich. Dec. 3, 2009) (“Plaintiff has effectively turned twenty-seven Requests for Admission into a

potential 270 interrogatories by making an additional ten inquiries for each denied Request for
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Admission”); Wildearth Guardians v. Pub. Serv. Co. of Colo., No. 09-CV-01862-ZLW-MEH, 2010

WL 5464313 at *3-4 (D. Colo. Dec. 29, 2010) (interrogatory that “request[ed] the factual basis for

each denial or denial in part to [the defendant's] requests for admissions” counted as 116

interrogatories, corresponding to each of the 116 denials or partial denials of a request for

admission); and Safeco of Am. v. Rawstron, 181 F.R.D. 441, 445 (C.D. Cal. 1998) (“[The purpose

of requests for admission] is to eliminate from the trial matters as to which there is no genuine

dispute. Therefore, requests for admissions are not principally discovery devices. Allowing service

of an interrogatory which requests disclosure of all of the information on which the denials of each

of 50 requests for admissions were based, however, essentially transforms each request for

admission into an interrogatory. This is not the purpose requests for admissions were intended to

serve, and because Rule 36 imposes no numerical limit on the number of requests for admissions

that may be served, condoning such a practice would circumvent the numerical limit contained in

Rule 33(a).”)

      Thus, we are left with plaintiffs’ too-clever-by-half argument that each of the eight plaintiffs

should get 25 interrogatories for just this limited, immunity phase of the case. President Trump

respectfully submits that such a burdensome, one-sided rule, which would allow the plaintiffs, by

coordinating their efforts, so easily to bypass the limits on interrogatories, could not possibly have

been within the Court’s contemplation when it consolidated these matters for this limited purpose.

Nor was it contemplated by any party, as shown by the fact that the various plaintiffs did not serve

separate interrogatories but rather all adopted—and received answers to—a unified set of

interrogatories. And that fact is fatal to plaintiff’s theory concerning how they might have evaded

the limit by coordination because they simply did not do so; each plaintiff, by joining in the 92

interrogatories answered to date, has posed and received answers to 92 interrogatories on its own

account.
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      That plaintiffs appear to regret their abusive overuse of requests for admission coupled with

what they now apparently deem an ill-considered use of their limited interrogatories does not

counsel in favor of requiring President Trump to shoulder even more of a burden at this late stage.

The irrefutable fact is that President Trump has already borne the burden of responding to 92

interrogatories. He should not be required to do more.

      Nor will plaintiffs, who demanded and received a statement laying out President Trump’s

immunity theory at the beginning of the immunity discovery process and who will have the

opportunity to respond to his immunity motion, be substantially prejudiced if they must bear the

consequences of their own profligacy with their limited interrogatories.

      Finally, President Trump notes that the only issue being raised in this Status Report with

respect to either the requests for admission or the interrogatories is the threshold issue of the number

that he should be required to respond to. There are other objections—including, for example,

whether some of the matters inquired into are within the allowable scope of immunity discovery at

all—that are not ripe for resolution at this time (and may never be depending on how the Court

resolves this threshold issue).

Dated: October 4, 2024                                Respectfully submitted,

 s/ Joseph Sellers                                      /s/ David Warrington
 Joseph M. Sellers, Bar No. 318410                      David A. Warrington, D.C. Bar No.
 Brian Corman, Bar No. 1008635                          1616846
 Alison S. Deich, Bar No. 1572878                       Jonathan M. Shaw, D.C. Bar No. 446249
 COHEN MILSTEIN SELLERS & TOLL                          Gary M. Lawkowski, D.C. Bar No.
 PLLC                                                   1781747 DHILLON LAW GROUP, INC.
 1100 New York Avenue N.W. Fifth Floor                  2121 Eisenhower Ave, Suite 402
 Washington, D.C. 20005                                 Alexandria, Virginia 22314
 Telephone: 202-408-4600                                Telephone: (703) 574-1206
 Facsimile: 202-408-4699                                Facsimile: (415) 520-6593
 jsellers@cohenmilstein.com                             dwarrington@dhillonlaw.com
 bcorman@cohenmilstein.com                              jshaw@dhllonlaw.com
 adeich@cohenmilstein.com                               glawkowski@dhillonlaw.com

  Janette McCarthy-Wallace, Bar No.                      Jesse R. Binnall VA022
                                                  7
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OH066257 Anthony P. Ashton, Bar No.                   BINNALL LAW GROUP,
MD25220                                               PLLC
Anna Kathryn Barnes Barry,                            717 King Street, Suite 200
D.C. Bar No.                                          Alexandria, VA 22314
1719493 NAACP                                         Telephone: (703) 888-1943
Office of General                                     Facsimile: (703) 888-
Counsel 4805 Mount                                    1930
Hope Drive Baltimore,                                 jesse@binnall.com
MD 21215
Telephone: 410-580-                                   Attorneys for Defendant Donald J. Trump
5777
jlouard@naacpnet.org
aashton@naacpnet.org
abarnes@naacpnet.org

Attorneys for Plaintiffs Barbara J. Lee, et al.

/s/ Matthew Kaiser
Matthew Kaiser, D.C. Bar No. 486272
Sarah Fink, D.C. Bar No. 166663
KAISER PLLC
1099 Fourteenth Street N.W.
8th Floor Washington, D.C. 20005
Telephone: 202-640-2850
mkaiser@kaiserlaw.com
sfink@kaiserlaw.com

Philip Andonian, D.C. Bar No. 490792
Joseph Caleb, D.C. Bar No. 495383
CALEBANDONIAN PLLC
1100 H Street N.W. Suite 315
Washington, D.C. 20005
Telephone: 202-953-9850
phil@calebandonian.com
joe@calebandonian.com

Attorneys for Plaintiff Eric Swalwell

/s/ Patrick Malone
Patrick A. Malone, Bar No. 397142
Daniel Scialpi, Bar No. 997556
(application for admission forthcoming)
PATRICK MALONE & ASSOCIATES, P.C.
1310 L Street N.W. Suite 800
Washington, D.C. 20005
Telephone: 202-742-1500
Facsimile: 202-742-1515
                                                  8
     Case 1:21-cv-00400-APM Document 125 Filed 10/04/24 Page 10 of 12



pmalone@patrickmalonelaw.com
dscialpi@patrickmalonelaw.com

Cameron Kistler, Bar No. 1008922
Kristy Parker, Bar No. 1542111
Erica Newland (Bar No. MD0141)
UNITED TO PROTECT DEMOCRACY
2020 Pennsylvania Avenue N.W. #163
Washington, D.C. 20006
Telephone: 202-579-4582
cameron.kistler@protectdemocracy.org
kristy.parker@protectdemocracy.org
erica.newland@protectdemocracy.org


Genevieve C. Nadeau, Bar No. 979410
UNITED TO PROTECT DEMOCRACY
15 Main Street, Suite 312
Watertown, MA 02472
Telephone: 202-579-4582
genevieve.nadeau@protectdemocracy.org

Attorneys for Plaintiffs James Blassingame
and Sidney Hemby

/s/ Edward Caspar
Edward G. Caspar, D.C. Bar No. 1644168
David Brody, D.C. Bar No. 1021476
Marc P. Epstein, D.C. Bar No. 90003967
LAWYERS’ COMMITTEE FOR
CIVIL RIGHTS UNDER LAW
1500 K Street N.W. Suite 900
Washington, D.C. 20005
Telephone: 202-662-8390
ecaspar@lawyerscommittee.org
dbrody@lawyerscommittee.org
mepstein@lawyerscommittee.org

Faith E. Gay, pro hac vice
Joshua S. Margolin, pro hac vice
Claire O’Brien, pro hac vice
Elizabeth H. Snow, pro hac vice
Babak Ghafarzade, pro hac vice
Esther D. Ness, pro hac vice
SELENDY GAY PLLC
1290 Avenue of the Americas
New York, NY 10104
                                             9
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Telephone: 212-390-9000
fgay@selendygay.com
jmargolin@selendygay.com
cobrien@selendygay.com
esnow@selendygay.com
bghafarzade@selendygay.com
eness@selendygay.com

William J. Blechman, pro hac vice
Elizabeth B. Honkonen, pro hac vice
KENNY NACHWALTER, P.A.
Four Seasons Tower – Suite 1100
1441 Brickell Avenue
Miami, FL 33131
Telephone: 305-373-1000
wblechman@knpa.com
ehonkonen@knpa.com

Attorneys for Plaintiffs Conrad Smith, et al.

/s/ Mark Zaid
Mark S. Zaid, Esq., D.C. Bar No. 440532
Bradley P. Moss, Esq., D.C. Bar No. 975905
MARK S. ZAID, P.C.
1250 Connecticut Avenue N.W. Suite 700
Washington, D.C. 20036
Telephone: 202-498-0011
Facsimile: 202-330-5610
Mark@MarkZaid.com
Brad@MarkZaid.com

Matthew Kaiser, D.C. Bar No. 486272
Noah Brozinsky, D.C. Bar No. 1655789
KAISER PLLC
1099 Fourteenth Street N.W. 8th Floor
Washington, D.C. 20005
Telephone: 202-640-2850
mkaiser@kaiserlaw.com
nbrozinsky@kaiserlaw.com

Philip Andonian, D.C. Bar No. 490792 Joseph
Caleb, D.C. Bar No. 495383
CALEBANDONIAN PLLC
1100 H Street N.W. Suite 315
Washington, D.C. 20005
Telephone: 202-953-9850
phil@calebandonian.com
                                                10
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joe@calebandonian.com

Attorneys for Plaintiff Sandra Garza

/s/ Patrick Malone
Patrick A. Malone, Bar No. 397142
Daniel Scialpi, Bar No. 997556
PATRICK MALONE & ASSOCIATES, P.C.
1310 L Street N.W. Suite 800
Washington, D.C. 20005
Telephone: 202-742-1500
Facsimile: 202-742-1515
pmalone@patrickmalonelaw.com
dscialpi@patrickmalonelaw.com

Attorneys for Plaintiffs Marcus J. Moore et
al.; Bobby Tabron et al.; and Briana Kirkland




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